J. W. OGLESBY, JR., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.  W. A. JONES, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Oglesby v. CommissionerDocket Nos. 36941, 37281.United States Board of Tax Appeals16 B.T.A. 1191; 1929 BTA LEXIS 2439; June 27, 1929, Promulgated *2439  The Commissioner determined a deficiency, which is not questioned, against a corporation of which the petitioners were each transferees of assets of a value in excess of the deficiency.  Held that petitioners are liable under the provisions of section 280 of the Revenue Act of 1926 for the deficiency in the tax of the corporation.  Russell Snow, Esq., for the petitioners.  A. H. Fast, Esq., for the respondent.  LOVE *1191  By agreement these proceedings were consolidated for hearing and decision.  The two cases involve the same questions of law, and are controlled by the same facts.  All the facts were stipulated, either by signed stipulations, or dictated into the record by counsel.  The legal questions involved are (a) the liability of petitioners, as distributees of the assets of the corporation, Waldo Lumber Co., the assets of which corporation were distributed in dissolution of said corporation to its stockholders; (b) the amount of such liability, if any, as against each of the petitioners.  The Commissioner had determined deficiencies against the corporation as follows: For the year 1922$457.02For the year 19231,718.19*2440  Based on the stipulation, we make the following findings of fact.  FINDINGS OF FACT.  The Waldo Lumber Co. was not liable for any deficiency for the year 1922.  The Waldo Lumber Co. was liable for a deficiency in tax for the year 1923 in the amount of $352.05.  During the years 1922 and 1923, the stock of the Waldo Lumber Co. was owned as follows: By J. W. Oglesby, Jr., 5/12 interest$31,250By Estate of R. B. Young, 5/12 interest31,250By W. A. Jones, 2/12 interest12,500*1192  Subsequent to 1923, the two petitioners here before the Board, each, while owning the same amount of stock stated above, received in distribution, assets of the Waldo Lumber Co. of greater than $352.05 value.  The Waldo Lumber Co. has distributed all its assets.  There are no creditors other than the Government entitled to share in the assets of the corporation.  OPINION.  LOVE: In view of the facts in this case, and on the authority of the opinions and decisions in the cases of ; *2441 ; ; and , we hold that the petitioners are each liable as transferees of a part of the assets of the Waldo Lumber Co. in the amount of $352.05, with interest thereon as provided by law, limited however in the aggregate amount collected from petitioners to the amount of $352.05, plus interest as provided by law.  Judgment will be entered for the respondent.